Case 2:17-cv-01491-SVW-SK Document 12 Filed 04/25/17 Page 1 of 3 Page ID #:29




  1 Scott M. Pearson (SBN 173880)
    pearsons@ballardspahr.com
  2 Taylor Steinbacher (SBN 285335)
    steinbachert@ballardspahr.com
  3 BALLARD SPAHR LLP
    2029 Century Park East, Suite 800
  4 Los Angeles, CA 90067-2909
    Telephone: 424.204.4340
  5 Facsimile: 424.204.4350
  6 Attorneys for Defendant
     PROGRESSIVE FINANCE
  7  HOLDINGS, LLC
  8
  9                           UNITED STATES DISTRICT COURT
 10                         CENTRAL DISTRICT OF CALIFORNIA
 11
 12 MORGAN FLINT,                                Case No. 2:17-cv-01491-SVW-SKx
 13                              Plaintiff,      STIPULATION AND [PROPOSED]
                                                 ORDER TO STAY ACTION
 14            v.                                PENDING ARBITRATION
 15 PROGRESSIVE FINANCE                          United States District Judge Stephen V.
                                                 Wilson
 16 HOLDINGS, LLC,
                     Defendant.                  Action Filed: February 23, 2017
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      DMEAST #29269030 v1
               STIPULATION AND [PROPOSED] ORDER TO STAY ACTION PENDING ARBITRATION
Case 2:17-cv-01491-SVW-SK Document 12 Filed 04/25/17 Page 2 of 3 Page ID #:30




  1            WHEREAS, on February 23, 2017, plaintiff Morgan Flint (“Flint”) filed this
  2 action in the United States District Court for the Central District of California;
  3            WHEREAS, Flint has agreed to pursue his claims in arbitration;
  4            NOW, THEREFORE, the parties hereby stipulate and agree that all
  5 proceedings in this action shall be stayed pursuant to 9 U.S.C. § 3 to permit the
  6 parties to complete their arbitration.
  7            IT IS SO STIPULATED.
  8
      DATED: April 25, 2017                          BALLARD SPAHR LLP
  9                                                  Scott M. Pearson
                                                     Taylor Steinbacher
 10
 11                                                  By: /s/ Taylor Steinbacher
                                                                 Taylor Steinbacher
 12
                                                     Attorneys for Defendant
 13                                                   PROGRESSIVE FINANCE
                                                      HOLDINGS, LLC
 14
      DATED: April 25, 2017                          LEMBERG LAW, LLC
 15                                                  Trinette G. Kent
 16
                                                     By: /s/ Trinette G. Kent
 17                                                             Trinette G. Kent
 18                                                  Attorneys for Plaintiff
                                                      MORGAN FLINT
 19
      All signatories listed on whose behalf this filing is submitted concur in the filing’s
 20
      content and have authorized the filing (L.R. 5-4.3.4(a)(2)(i)).
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      DMEAST #29269030 v1                        2
               STIPULATION AND [PROPOSED] ORDER TO STAY ACTION PENDING ARBITRATION
Case 2:17-cv-01491-SVW-SK Document 12 Filed 04/25/17 Page 3 of 3 Page ID #:31




  1                                CERTIFICATE OF SERVICE
  2
               I hereby certify that on this 25th day of April, 2017, I electronically filed a
  3
      true and correct copy of the foregoing STIPULATION AND [PROPOSED]
  4
      ORDER TO STAY ACTION PENDING ARBITRATION through the Court’s
  5
      CM/ECF system, which will send a notice of electronic filing to the following:
  6
  7
    Trinette G. Kent, Esq.                                            tkent@lemberglaw.com
  8 LEMBERG LAW, LLC
  9
 10
                                                 /s/ Taylor Steinbacher
 11                                                            Taylor Steinbacher
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      DMEAST #29269030 v1
                                        CERTIFICATE OF SERVICE
